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                                   UNITED STATES BANKRUPTCY COURT
                                      DISTRICT OF NORTH DAKOTA


            In Re:                                             Case No.: 17-30112

            Vanity Shop of Grand Forks, Inc.,                  Chapter 11

                                  Debtor.


             DEBTOR’S MOTION FOR INTERIM AND FINAL ORDERS: (I) AUTHORIZING
                   PAYMENT OF CERTAIN PREPETITION TAXES AND FEES; AND
             (II) AUTHORIZING FINANCIAL INSTITUTIONS TO HONOR ALL RELATED
                       CHECKS AND ELECTRONIC PAYMENT REQUESTS


                     Vanity Shop of Grand Forks, Inc. (“Debtor”) in the above-captioned chapter 11 case

            hereby moves the Court (the “Motion”) for entry of an interim order (“Interim Order”) and

            a final order (“Final Order”), substantially in the forms attached hereto as Exhibit A and

            Exhibit B, respectively, pursuant to Sections 105(a), 363(b), 507(a), and 541 of Title 11 of

            the United States Code, 11 U.S.C. §§ 101-1532 (“Bankruptcy Code”), Rules 6003 and 6004

            of the Federal Rules of Bankruptcy Procedure (“Bankruptcy Rules”): (i) authorizing it to

            remit and pay, in the ordinary course of business, certain prepetition taxes including sales,

            use, franchise, commercial activity, business and occupation, and various other taxes, fees,

            charges, and assessments (collectively the “Taxes and Fees”); and (ii) authorizing Debtor’s

            banks and financial institutions (collectively the “Banks”) to honor all related checks and

            electronic payment requests. In support of this Motion, Debtor relies on the Declaration of

            Jill Motschenbacher in Support of Chapter 11 Petition and First Day Motions (“First Day

            Declaration”), which was filed contemporaneously with this Motion and is incorporated




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            herein by reference. In further Support of this Motion, Debtor respectfully represents as

            follows:

                                           JURISDICTION AND VENUE

                     1.    The Court has jurisdiction over this Chapter 11 Case and this Motion pursuant

            to 28 U.S.C. §§ 157 and 1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b), and

            Debtor consents to entry of a final order by the Court in connection with this Motion to the

            extent that it is later determined that the Court, absent consent of the parties, cannot enter

            final orders or judgments in connection herewith consistent with Article III of the United

            States Constitution. Venue of this Chapter 11 case and this Motion in this district is proper

            under 28 U.S.C. §§ 1408 and 1409.

                     2.    The statutory bases for the relief requested herein are Sections 105(a), 363(b),

            507(a), and 541 of the Bankruptcy Code, and Bankruptcy Rules 6003 and 6004.

                                                   BACKGROUND

            I.       GENERAL

                     3.    On the date hereof (“Petition Date”), Debtor commenced a voluntary case

            under Chapter 11 of the Bankruptcy Code. Debtor is authorized to continue to operate its

            business and manage its property as debtor in possession pursuant to Sections 1107(a) and

            1108 of the Bankruptcy Code. To date, no trustee, examiner, or statutory committee has

            been appointed in this Chapter 11 case. Additional factual background relating to Debtor’s

            business, capital structure, and the commencement of this Chapter 11 case is set forth in

            further detail in the First Day Declaration.




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            II.    TAXES AND FEES PAID BY DEBTOR 1

                   4.        In the ordinary course of its business, Debtor incurs and/or collects the Taxes

            and Fees and remits such Taxes and Fees to various federal, state, and local taxing and other

            governmental authorities and/or certain municipal or governmental subdivisions or agencies

            of those states (collectively the “Taxing Authorities”) 2 in connection with the sale of its

            products or services at store locations, or through shipments of products purchased through

            Debtor’s website to customers.           The Taxes and Fees are paid monthly, quarterly,

            semiannually, or annually to the respective Taxing Authorities, depending on the given Tax

            or Fee and the relevant Taxing Authority to which it is paid. As of the Petition Date, Debtor

            estimates it owes approximately $650,000.00 in unremitted Taxes and Fees, which are

            comprised entirely of current tax obligations, and are not “catch-up” payments.

                   5.        Debtor seeks authority to pay all prepetition Taxes and Fees in the ordinary

            course of business owed to the Taxing Authorities; provided payments on account of Taxes

            and Fees that accrued, in whole or in part, prior to the Petition Date but were not in fact paid

            or processed prior to the Petition Date shall not exceed $775,000.00.

                   6.        Debtor also requests all Banks on which checks to third parties are drawn

            and/or electronic payments are made pursuant to this Motion be authorized to receive,



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                      Debtor does not seek authority to collect and pay state and federal employee
            withholding taxes under this Motion, but rather requests such authority as part of Debtor’s
            Motion for Entry of an Order: (i) Authorizing Debtor to Pay and Honor Certain Prepetition
            Wages, Benefits, and Other Compensation Obligations; (ii) Honor Management Services
            Agreement and Pay Prepetition Obligations Related Thereto; and (iii) Authorizing Banks to
            Honor and Process Checks and Transfers Related to Such Obligations, filed concurrently
            herewith.
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                       A list of Taxing Authorities is attached hereto as Exhibit C.


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            process, honor, and pay any and all such checks (whether issued or presented prior to or after

            the Petition Date) and electronic payments, and to rely on the representations of Debtor as to

            which checks are authorized to be paid.

                   7.      Many Taxing Authorities impose personal liability on directors and/or

            responsible officers of entities responsible for collecting or paying certain taxes or fees to the

            extent such taxes or fees are not remitted. Although Debtor believes all taxes and fees for

            which Debtor’s directors and/or responsible officers may be personally liable are described

            herein, it is possible that other prepetition obligations similar in nature (and in threat of

            personal liability) may be uncovered by Debtor subsequent to the filing of this Motion. To

            the extent that such prepetition obligations exist, Debtor will consider such obligations

            “Taxes and Fees” as that term is defined and used herein and request the authority to pay

            such Taxes and Fees as they may arise in the ordinary course of business.

                                               RELIEF REQUESTED

                   8.      Debtor hereby requests entry of interim and final orders, pursuant to Sections

            105(a), 363(b), 507(a), and 541 of the Bankruptcy Code, and Bankruptcy Rules 6003 and

            6004, (i) authorizing, but not directing, Debtor to pay, in its sole discretion, all prepetition

            Taxes and Fees, and (ii) authorizing the Banks to honor all related checks and electronic

            payment requests.




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                                                 BASIS FOR RELIEF

            I.       THE COURT SHOULD AUTHORIZE, BUT NOT DIRECT, DEBTOR TO
                     PAY, IN ITS SOLE DISCRETION, THE TAXES AND FEES

                     A.    Payment of the Taxes and Fees is Necessary and Appropriate to Ensure
                           Debtor’s Smooth Transition into Chapter 11

                     9.    Debtor respectfully submits the Court should authorize the payment of the

            Taxes and Fees because: (i) certain of the Taxes and Fees do not constitute property of

            Debtor’s Chapter 11 estate; (ii) substantially all of the Taxes and Fees constitute priority

            claims; (iii) the failure to pay certain of the Taxes and Fees may impact Debtor’s ability to

            conduct business in certain jurisdictions and its ability to perform under the prepetition

            agreement it entered into to assist with the Store Closing Sales; and (iv) Debtor’s directors

            and officers may face personal liability if certain of the Taxes and Fees are not paid. Absent

            payment of these amounts, Debtor may face serious disruptions and distractions during the

            administration of this Chapter 11 case, including with respect to the store closing sales (such

            sales, the “Store Closing Sales”).

                     10.   The sales taxes and certain of the other taxes identified above are “trust fund

            taxes” that, by definition, are held by Debtor in trust for the benefit of those third parties to

            whom payment is owed or on behalf of whom such payment is being made. Section 541(d)

            of the Bankruptcy Code excludes “property in which the debtor holds, as of the

            commencement of the case, only legal title and not an equitable interest.”            11 U.S.C.

            § 541(d). It is well established under Section 541(d) of the Bankruptcy Code that taxes

            collected on behalf of taxing authorities are not property of the estate. See Begier v. IRS,

            496 U.S. 53, 59 (1990) (holding that taxes such as excise taxes, FICA taxes and withholding




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            taxes are property held by the debtor in trust for another and, as such, do not constitute

            property of the estate); City of Farrell v. Sharon Steel Corp. (In re Sharon Steel Corp.),

            41 F.3d 92, 98–103 (3d Cir. 1994) (finding that funds withheld from employees’ paychecks

            may be subject to a trust, and thus not property of a debtor’s estate, even where such funds

            were commingled with the debtor’s other property); In re Turner, 35 B.R. 811, 813 (Bankr.

            D.N.D. 1983) (funds withheld from employee’s wages for FICA and federal income taxes

            become, “in essence, property of the government by virtue of their trust status and may not

            be used by the employer for any of his business operations or expenses”). Because the Taxes

            and Fees that are trust fund taxes do not constitute property of Debtor’s estate, these amounts

            will not otherwise be available for distribution to Debtor’s creditors. Thus, the payment of

            these Taxes and Fees will not adversely affect Debtor’s estate and Debtor submits, is

            warranted.

                   11.     Moreover, Debtor believes most, if not all, of the Taxes and Fees would be

            priority claims under Section 507(a)(8) of the Bankruptcy Code. As priority claims, these

            taxes must be paid in full before Debtor may obtain confirmation of a Chapter 11 plan or

            make distributions to general unsecured nonpriority creditors.               See 11 U.S.C.

            § 1129(a)(9)(C). Accordingly, the proposed relief will only affect the timing of the payment

            of the Taxes and Fees and not whether such amounts will be paid. As such, payment of the

            Taxes and Fees will not prejudice the rights of general unsecured nonpriority creditors or

            other parties in interest.

                   12.     Debtor is required to pay franchise taxes and, in some instances, other Taxes

            and Fees to maintain their good standing to operate in the jurisdictions in which it does




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            business. Thus, if such taxes are not paid, certain Taxing Authorities may refuse to issue

            good standing certificates, and may refuse to take other actions requested of them by Debtor

            during its case. The inability to obtain these documents may hinder Debtor’s ability to

            maximize the value of its estate through the Store Closing Sales and Debtor’s subsequent

            wind down efforts.

                   13.    Further, Debtor believes some of these Taxing Authorities may initiate audits

            if Debtor fails to pay the Taxes and Fees promptly. Such audits would further divert

            attention and resources from the process of administering this Chapter 11 case. Moreover, as

            described above, Debtor’s directors and officers may be subject to personal liability in the

            event that the Taxes and Fees are not remitted or paid to the appropriate Taxing Authority. If

            any such taxes or fees remain unpaid, Debtor’s directors and responsible officers may be

            subject to lawsuits or even criminal prosecution on account of such nonpayment during the

            pendency of this Chapter 11 case, which event would undermine Debtor’s efforts to

            maximize value for the benefit of its creditors. Accordingly, Debtor respectfully requests the

            authority to remit the Taxes and Fees to ensure it and its directors, officers, and employees

            remain focused on operating its business, conducting the Store Closing Sales and

            maximizing the value of Debtor’s estate for the benefit of all interested parties.

                   B.     Payment of the Taxes and Fees is Authorized Under Sections 105(a), 363,
                          1107(a), and 1108 of the Bankruptcy Code and the Doctrine of Necessity

                   14.    The relief requested in this Motion is also supported by several provisions of

            the Bankruptcy Code authorizing a debtor to honor prepetition obligations in certain

            circumstances. Courts have recognized each of these provisions as valid authority for such

            payments.    For example, under Section 363(b) of the Bankruptcy Code, a court may



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            authorize a debtor to pay certain prepetition claims. See In re Ionosphere Clubs, Inc.,

            98 B.R. 174, 175 (Bankr. S.D.N.Y. 1989) (referring to the court’s earlier order authorizing

            payment of prepetition wages pursuant to Section 363(b) of the Bankruptcy Code);

            Armstrong World Indus., Inc. v. James A. Phillips, Inc. (In re James A. Phillips, Inc.),

            29 B.R. 391, 397 (S.D.N.Y. 1983) (relying on Section 363 of the Bankruptcy Code to allow a

            contractor to pay prepetition claims of suppliers who were potential lien claimants because

            the payments were necessary for general contractor to release funds owed to debtors). To do

            so, “the debtor must articulate some business justification, other than the mere appeasement

            of major creditors.” Id.; see also Comm. of Equity Sec. Holders v. Lionel Corp. (In re Lionel

            Corp.), 722 F.2d 1063 (2d Cir. 1983).

                   15.    In addition, Sections 1107(a) and 1108 of the Bankruptcy Code authorize a

            debtor in possession to continue to operate its business. 11 U.S.C. §§ 1107(a), 1108. Indeed,

            a debtor in possession operating a business under Section 1108 of the Bankruptcy Code has a

            duty to protect and preserve the value of its business, and prepetition claims may be paid if

            necessary to perform the debtor’s duty. See In re CoServ, L.L.C., 273 B.R. 487, 497 (Bankr.

            N.D. Tex. 2002) (“There are occasions when this duty can only be fulfilled by the preplan

            satisfaction of a prepetition claim.”). The CoServ court specifically noted that the pre-plan

            satisfaction of prepetition claims would be a valid exercise of the debtor’s fiduciary duty

            when the payment “is the only means to effect a substantial enhancement of the estate.” Id.

                   16.    To supplement these explicit powers, Section 105(a) of the Bankruptcy Code

            empowers the Court to “issue any order, process, or judgment that is necessary or appropriate

            to carry out the provisions of this title.” 11 U.S.C. § 105(a). Numerous courts have




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            recognized that payments to prepetition creditors are appropriate pursuant to section 105(a)

            of the Bankruptcy Code under the “doctrine of necessity” or the “necessity of payment” rule

            where such payments are necessary to the continued operation of the debtor’s business. See,

            e.g., In re Lehigh & New England Ry. Co., 657 F.2d 570, 581 (3d Cir. 1981) (holding that a

            court could authorize the payment of prepetition claims if such payment was essential to the

            continued operation of the debtor); In re Penn Cent. Transp. Co., 467 F.2d 100, 102 n.1 (3d

            Cir. 1972) (holding that the necessity of payment doctrine permits “immediate payment of

            claims of creditors where those creditors will not supply services or material essential to the

            conduct of the business until their pre-reorganization claims have been paid”); see also In re

            Payless Cashways, Inc., 268 B.R. 543, 546 (Bankr. W.D. Mo. 2001) (“Since enactment of

            the Code various courts have permitted debtors-in-possession to pay pre-petition debts on the

            grounds that payment of such claims was necessary to effectuate a successful reorganization,

            or at least to give the debtor the opportunity to propose any type of plan at all.”); In re

            Wehrenberg, Inc., 260 B.R. 468, 469 (Bankr. E.D. Mo. 2001) (“Pursuant to 11 U.S.C.

            § 105(a) the Court may authorize the payment of prepetition claims when such payments are

            necessary to the continued operation of the Debtor.”); In re Just for Feet, Inc., 242 B.R. 821,

            826 (D. Del. 1999) (finding that payment of prepetition claims to certain trade vendors was

            “essential to the survival of the debtor during the chapter 11 reorganization.”).

                   17.    Debtor submits the timely payment of the Taxes and Fees is essential to

            Debtor’s continued, uninterrupted operations, and the success of the Store Closing Sales.

            Debtor’s payment of the Taxes and Fees is necessary to forestall the obstacles to the smooth

            functioning of Debtor’s business operations that likely would result from a failure to remit




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            the tax payments described herein. Specifically, the failure to maintain good standing,

            potential audits by Taxing Authorities, and, crucially, the threat of personal liability for

            Debtor’s directors and responsible officers represent a few of the adverse consequences that

            may result from Debtor’s failure to make necessary tax payments. Significant disruptions to

            Debtor’s operations of this type threaten to irreparably impair Debtor’s efforts in this Chapter

            11 case, including with respect to Debtor’s wind down efforts.          Thus, Debtor submits

            payment of the Taxes and Fees is warranted in this Chapter 11 case.

            II.    THE COURT SHOULD AUTHORIZE THE BANKS TO HONOR AND
                   PROCESS DEBTOR’S PAYMENTS ON ACCOUNT OF THE TAXES AND
                   FEES

                   18.    Debtor represents it has sufficient funds to pay the amounts described herein in

            the ordinary course of business by virtue of expected cash flows from Store Closing Sales,

            and anticipated access to, and preferably consensual use of cash collateral. As a result of the

            commencement of this Chapter 11 case and in the absence of an order of the Court providing

            otherwise, Debtor’s checks and electronic fund transfers on account of the Taxes and Fees

            may be dishonored or rejected by financial institutions.           Under the Debtor’s cash

            management system, Debtor can readily identify checks or transfers as relating directly to

            payment of Taxes and Fees. Accordingly, Debtor believes prepetition checks and transfers

            other than those for Taxes and Fees will not be honored inadvertently. Debtor submits each

            Bank should be authorized to rely on the representations of Debtor with respect to whether

            any check drawn or transfer request issued by Debtor prior to the Petition Date should be

            honored pursuant to this Motion.




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                                       IMMEDIATE RELIEF IS JUSTIFIED

                   19.     Bankruptcy Rule 6003 provides the relief requested in this Motion may be

            granted if the “relief is necessary to avoid immediate and irreparable harm.” Fed. R. Bankr.

            P. 6003. As described above and in the First Day Declaration, the payment of the Taxes and

            Fees is necessary to prevent the immediate and irreparable damage to Debtor’s operations

            and efforts to maximize the value of its estate that would result from, among other things,

            Debtor’s failure to (i) maintain good standing within the jurisdictions in which it conducts its

            business, or (ii) protect its directors and responsible officers from personal liability.

            Accordingly, Debtor submits the relief requested herein is necessary to avoid immediate and

            irreparable harm and, therefore, Bankruptcy Rule 6003 is satisfied.

                                     WAIVER OF ANY APPLICABLE STAY

                   20.     Debtor also requests the Court waive the stay imposed by Bankruptcy Rule

            6004(h), which provides “[a]n order authorizing the use, sale, or lease of property other than

            cash collateral is stayed until the expiration of 14 days after entry of the order, unless the

            court orders otherwise.” Fed. R. Bankr. P. 6004(h). As described above, the relief sought

            herein is necessary for Debtor to operate its business without interruption and to preserve

            value of its estate. Accordingly, Debtor respectfully requests the Court waive the fourteen-

            day stay imposed by Bankruptcy Rule 6004(h), as the exigent nature of the relief sought

            herein justifies immediate relief.

                                                      NOTICE

                   21.     Notice of this Motion has been given to: (i) the Office of the United States

            Trustee for the District of North Dakota; (ii) counsel to Wells Fargo Bank, National




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            Association; (iii) holders of the twenty (20) largest unsecured claims on a consolidated basis

            against Debtor; (iv) the Banks; (v) Taxing Authorities; and (vi) counsel to any committee

            appointed in this case; and (vii) any party that has requested notice pursuant to Bankruptcy

            Rule 2002. Debtor submits, in light of the nature of the relief requested, no other or further

            notice need be given.

                                                    CONCLUSION

                   22.     WHEREFORE, Debtor respectfully requests the Court enter interim and final

            orders, substantially in the form attached hereto as Exhibits A and B, (i) granting the relief

            requested herein, and (ii) granting such other relief as is just and proper.

                   Dated this 1st day of March, 2017.

                                                          VOGEL LAW FIRM


                                                     BY: /s/ Caren W. Stanley
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                                                         Caren W. Stanley (#06100)
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                                                         Fargo, ND 58107-1389
                                                         Telephone: 701.237.6983
                                                         PROPOSED COUNSEL TO DEBTOR IN
                                                         POSSESSION




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                                            EXHIBIT A

                                      (Proposed Interim Order)




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                                   UNITED STATES BANKRUPTCY COURT
                                      DISTRICT OF NORTH DAKOTA


            In Re:                                               Case No.: 17-30112

            Vanity Shop of Grand Forks, Inc.,                    Chapter 11

                                  Debtor.


             INTERIM ORDER: (I) AUTHORIZING PAYMENT OF CERTAIN PREPETITION
              TAXES AND FEES AND (II) AUTHORIZING FINANCIAL INSTITUTIONS TO
             HONOR ALL RELATED CHECKS AND ELECTRONIC PAYMNENT REQUESTS


                     Upon the Motion 1 of Debtor for entry of this Interim Order pursuant to Sections

            105(a), 363(b), 507(a), and 541 of the Bankruptcy Code, Bankruptcy Rules 6003 and 6004:

            (i) authorizing it to pay all Taxes and Fees, and (ii) authorizing banks and financial

            institutions to honor all related checks and electronic payment requests; and upon

            consideration of the First Day Declaration and the entire record of this Chapter 11 case; and

            it appearing this Court has jurisdiction to consider the Motion pursuant to 28 U.S.C. §§ 1334

            and 157; and it appearing the Motion is a core matter pursuant to 28 U.S.C. § 157(b)(2) and

            this Court may enter a final order consistent with Article III of the United States

            Constitution; and it appearing proper and adequate notice of the Motion and the hearing

            thereon having been given; and it appearing that no other or further notice being necessary;

            and it appearing the legal and factual bases set forth in the Motion establish just cause for the

            relief granted herein; and this Court having determined the relief sought in the Motion is in




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                      Capitalized terms used but not otherwise defined herein shall have the meanings
            ascribed to them in the Motion.



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            the best interests of Debtor, its estate, its creditors, and other parties in interest; and after due

            deliberation and sufficient cause appearing therefore;

                   IT IS HEREBY ORDERED:

                   1.      The Motion is GRANTED on an interim basis as set forth herein.

                   2.      Debtors is authorized, but not directed, to pay the Taxes and Fees due and

            owing, including, without limitation, through the issuance of postpetition checks or wire

            transfer requests, as Debtor, in its sole discretion, deems necessary, in an amount not to

            exceed $650,000.

                   3.      The Banks are authorized, when requested by Debtor, in Debtor’s discretion,

            to honor and process checks or electronic fund transfers drawn on the Debtor’s bank

            accounts to pay prepetition obligations authorized to be paid hereunder, whether such checks

            or other requests were submitted prior to, or after, the Petition Date, provided that sufficient

            funds are available in the applicable bank accounts to make such payments. The Banks may

            rely on the representations of Debtor with respect to whether any check or other transfer

            drawn or issued by Debtor prior to the Petition Date should be honored pursuant to this

            Order, and any such Bank shall not have any liability to any party for relying on such

            representations by Debtor, as provided for in this Order.

                   4.      Nothing herein shall impair any right of Debtor to dispute or object to any

            taxes asserted as owing to the Taxing Authorities or those parties who ordinarily collect the

            Taxes and Fees as to amount, liability, classification, or otherwise.

                   5.      Debtor is authorized to issue postpetition checks, or to effectuate postpetition

            fund transfer requests, in replacement of any checks or fund transfer requests that are




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            dishonored as a consequence of this Chapter 11 Case with respect to prepetition amounts

            owed in connection with the Taxes and Fees.

                   6.     Objections to entry of an order granting the Motion on a final basis must be

            filed by ___________ ___, 2017 at 4:00 p.m. prevailing Central Time and served on: (i)

            proposed counsel to Debtor, Vogel Law Firm 218 NP Avenue, PO Box 1389, Fargo, North

            Dakota 58107-1389, Attn: Jon R. Brakke, Caren W. Stanley; (ii) the U.S. Trustee, Office of

            the United States Trustee, 314 S. Main Avenue, Suite 303, Sioux Falls, South Dakota 57104;

            and (iii) counsel to any statutory committee appointed in this Chapter 11 Case. A final

            hearing, if required, on the Motion will be held on ______________________, 2017 at

            ___________ __.m. prevailing Central Time. If no objections are filed to the Motion, this

            Court may enter a final order without further notice or hearing.

                   7.     Debtor is authorized and empowered to take all actions necessary to

            implement the relief granted in this Order.

                   8.     Bankruptcy Rule 6003(b) has been satisfied because the relief requested in the

            Motion is necessary to avoid immediate and irreparable harm to Debtor.

                   9.     The requirements set forth in Bankruptcy Rule 6004(a) are hereby waived, and

            pursuant to Bankruptcy Rule 6004(h), the terms and provisions of this Order shall be

            immediately effective and enforceable upon its entry.

                   10.    Notwithstanding any provision in the Bankruptcy Rules to the contrary: (i) this

            Order shall be effective immediately and enforceable upon its entry; (ii) Debtor is not subject

            to any stay in the implementation, enforcement, or realization of the relief granted in this




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            Order; and (iii) Debtor is authorized and empowered, and may in its discretion and without

            further delay, take any action necessary or appropriate to implement this Order.

                   11.    This Court shall retain jurisdiction with respect to all matters arising from or

            related to the implementation or interpretation of this Order.

                   Dated this ____ day of ___________, 2017.



                                                         _______________________________________
                                                         UNITED STATES BANKRUPTCY JUDGE




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                                            EXHIBIT B

                                       (Proposed Final Order)




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                                    UNITED STATES BANKRUPTCY COURT
                                       DISTRICT OF NORTH DAKOTA


            In Re:                                               Case No.: 17-30112

            Vanity Shop of Grand Forks, Inc.,                    Chapter 11

                                   Debtor.


             FINAL ORDER: (I) AUTHORIZING PAYMENT OF CERTAIN PREPETITION
             TAXES AND FEES AND (II) AUTHORIZING FINANCIAL INSTITUTIONS TO
            HONOR ALL RELATED CHECKS AND ELECTRONIC PAYMNENT REQUESTS


                     Upon the Motion 1 of Debtor for entry of this Final Order pursuant to Sections 105(a),

            363(b), 507(a), and 541 of the Bankruptcy Code, Bankruptcy Rules 6003 and 6004: (i)

            authorizing it to pay all Taxes and Fees and (ii) authorizing banks and financial institutions

            to honor all related checks and electronic payment requests; and upon consideration of the

            First Day Declaration and the entire record of this Chapter 11 case; and it appearing this

            Court has jurisdiction to consider the Motion pursuant to 28 U.S.C. §§ 1334 and 157; and it

            appearing the Motion is a core matter pursuant to 28 U.S.C. § 157(b)(2) and this Court may

            enter a final order consistent with Article III of the United States Constitution; and it

            appearing proper and adequate notice of the Motion and the hearing thereon having been

            given; and it appearing that no other or further notice being necessary; and it appearing the

            legal and factual bases set forth in the Motion establish just cause for the relief granted

            herein; and this Court having determined the relief sought in the Motion is in the best




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                      Capitalized terms used but not otherwise defined herein shall have the meanings
            ascribed to them in the Motion.



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            interests of Debtor, its estate, its creditors, and other parties in interest; and after due

            deliberation and sufficient cause appearing therefore; it is hereby

                   IT IS HEREBY ORDERED:

                   1.     The Motion is GRANTED on a final basis as set forth herein.

                   2.     Debtors is authorized, but not directed, to pay the Taxes and Fees due and

            owing, including, without limitation, through the issuance of postpetition checks or wire

            transfer requests, as Debtor, in its sole discretion, deem necessary, in an amount not to

            exceed $775,000.

                   3.     The Banks are authorized, when requested by Debtor, in Debtor’s discretion,

            to honor and process checks or electronic fund transfers drawn on the Debtor’s bank

            accounts to pay prepetition obligations authorized to be paid hereunder, whether such checks

            or other requests were submitted prior to, or after, the Petition Date, provided that sufficient

            funds are available in the applicable bank accounts to make such payments. The Banks may

            rely on the representations of Debtor with respect to whether any check or other transfer

            drawn or issued by Debtor prior to the Petition Date should be honored pursuant to this

            Order, and any such Bank shall not have any liability to any party for relying on such

            representations by Debtor, as provided for in this Order.

                   4.     Nothing herein shall impair any right of Debtor to dispute or object to any

            taxes asserted as owing to the Taxing Authorities or those parties who ordinarily collect the

            Taxes and Fees as to amount, liability, classification, or otherwise.

                   5.     Debtor is authorized to issue postpetition checks, or to effectuate postpetition

            fund transfer requests, in replacement of any checks or fund transfer requests that are




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            dishonored as a consequence of this Chapter 11 case with respect to prepetition amounts

            owed in connection with the Taxes and Fees.

                   6.     Debtor is authorized and empowered to take all actions necessary to

            implement the relief granted in this Order.

                   7.     The requirements set forth in Bankruptcy Rule 6004(a) are hereby waived, and

            pursuant to Bankruptcy Rule 6004(h), the terms and provisions of this Order shall be

            immediately effective and enforceable upon its entry.

                   8.     Notwithstanding any provision in the Bankruptcy Rules to the contrary: (i) this

            Order shall be effective immediately and enforceable upon its entry; (ii) Debtor is not subject

            to any stay in the implementation, enforcement, or realization of the relief granted in this

            Order; and (iii) Debtor is authorized and empowered, and may in its discretion and without

            further delay, take any action necessary or appropriate to implement this Order.

                   9.     This Court shall retain jurisdiction with respect to all matters arising from or

            related to the implementation or interpretation of this Order.

                   Dated this ____ day of ___________, 2017.



                                                          _______________________________________
                                                          UNITED STATES BANKRUPTCY JUDGE




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                                            EXHIBIT C

                                        (Taxing Authorities)




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                                                                                             VANITY SHOP OF GRAND FORKS, INC.

                                                                                                     Taxing Authorities
                                                                                                    As of March 1, 2017
                  Taxing Authority                                    Address Line 1                                            Address Line 2                     Address Line 3              City   State         Zip
Federal                                    Internal Revenue Service                                            PO Box 37941                                                         Hartford          CT    06176-7941
Federal                                    Internal Revenue Service                                            PO Box 37941                                                         Hartford          CT    06176-7941
Federal                                    Internal Revenue Service                                            PO Box 37941                                                         Hartford          CT    06176-7941

Arkansas                                   Arkansas Department of Workforce Services                           PO Box 8007                                                          Little Rock       AR    72203-8007
Colorado                                   Department of Labor & Employment                                    Unemployment Insurance Employer Services   PO Box 956                Denver            CO    80201-0956
Idaho                                      Idaho Department of Labor                                           317 W. Main St                                                       Boise             ID         83735
Illinois                                   Illinois Department of Employment Security                          IDES                                       PO Box 19300              Springfield       IL    62794-9300
Indiana                                    Indiana Department of Workforce Development                         10 N Senate Ave                            RM SE003                  Indianapolis      IN    46204-2277
Iowa                                       Iowa Workforce Development Unemployment Insurance                   1000 E Grand Avenue                                                  Des Moines        IA         50319
Kansas                                     Kansas Department of Labor                                          PO Box 400                                                           Topeka            KS    66601-0400
Kentucky                                   Education and Workforce Development Cabinet                         275 East Main Street                                                 Frankfort         KY         40601
Michigan                                   Department of Licensing and Regulatory Affairs                      Unemployment Insurance Agency              3024 W Grand Blvd         Detroit           MI         48202
Minnesota                                  Department of Economic Security                                     Tax Accounting Section                     390 N Robert St           St. Paul          MN         55101
Missouri                                   Missouri Department of Labor                                        Division of Employment Security            421 East Dunklin Street   Jefferson City    MO         65104
Montana                                    Montana Department of Labor & Industry                              PO Box 6339                                                          Helena            MT         59604
Nebraska                                   Department of Labor                                                 Unemployment Insurance                     PO Box 94600              Lincoln           NE    68509-4600
New York                                   NYS Employment Contributions and Taxes                              PO Box 4119                                                          Binghamton        NY    13902-4119
North Carolina                             Employment Security Commission of North Carolina                    PO Box 25903                                                         Raleigh           NC    27611-5903
North Dakota                               Job Service of North Dakota                                         PO Box 5507                                                          Bismarck          ND    58506-5507
Ohio                                       Ohio Department of Jab and Family Services                          PO Box 182413                                                        Columbus          OH    43218-2413
Oklahoma                                   Oklahoma Employment Security Commission                             PO Box 52004                                                         Oklahoma City     OK    73152-2004
Pennsylvania                               Pennsylvania Department of Labor & Industry                         Office of UC Tax Services                  651 Boas Street           Harrisburg        PA    17121-0750
South Dakota                               South Dakota Department of Labor & Regulation                       Unemployment Insurance Division            PO Box 4730               Aberdeen          SD    57402-4730
Tennessee                                  Tennessee Department of Labor and Workforce Development             220 French Landing Drive                                             Nashville         TN         37243
Texas                                      Texas Workforce Commission                                                                                                               Austin            TX    78714-9037
Utah                                       Utah Department of Workforce Services                               Unemployment Insurance                     PO Box 45233              Salt Lake City    UT    84145-0233
Washington                                 Employment Security Department                                      PO Box 34729                                                         Seattle           WA    98124-1729
Wisconsin                                  Wisconsin Department of Workforce Development                       Division of Unemployment Insurance         PO Box 7945               Madison           WI         53707
West Virginia                              West Virginia Unemployment Compensation Division                    PO Box 106                                                           Charleston        WV         25321
Wyoming                                    State of Wyoming                                                    Department of Workforce Services           PO Box 2760               Casper            WY         82602

Arkansas                                   Arkansas Department of Finance & Administration                     Ledbetter Building                         1816 @ 7th St, Rm 1380    Little Rock       AR         72201
Colorado                                   State of Colorado                                                   Department of Revenue                                                Denver            CO         80261
Idaho                                      Idaho State Tax Commission                                          PO Box 76                                                            Boise             ID         83707
Illinois                                   Illinois Department of Revenue                                      PO Box 19044                                                         Springfield       IL         62794
Indiana                                    Indiana Department of Revenue                                       PO Box 6108                                                          Indianapolis      IN         46206
Iowa                                       Iowa Department of Revenue                                          PO Box 10411                                                         Des Moines        IA         50306
Kansas                                     Division of Taxation                                                915 SW Harrison ST                                                   Topeka            KS         66625
Kentucky                                   Commonwealth of Kentucky                                            Department of Revenue                                                Frankfort         KY         40620
Michigan                                   Michigan Department of Treasury                                     PO Box 30806                                                         Lansing           MI         48909
Minnesota                                  Minnesota Department of Revenue                                     600 North Rober St                                                   St Paul           MN         55146
Missouri                                   Missouri Department of Revenue                                      Taxation Division                          PO Box 3300               Jefferson City    MO         65105
Montana                                    Montana Department of Revenue                                       PO Box 5805                                                          Helena            MT         59604
Nebraska                                   Nebraska Department of Revenue                                      PO Box 98915                                                         Lincoln           NE         68509
New York                                   New York State Department of Taxation                               PO Box 4119                                                          Binghamton        NY         13902
North Carolina                             North Carolina Department of Revenue                                PO Box 25000                                                         Raleigh           NC         27640
North Dakota                               State Tax Commissioner                                              600 East Boulevard                                                   Bismarck          ND    58505-0599
Ohio                                       Ohio Department of Taxation                                         PO Box 182667                                                        Columbus          OH    43218-2667
Oklahoma                                   Oklahoma Tax Commission                                             2501 North Lincoln Boulevard                                         Oklahoma City     OK         73194
Pennsylvania                               Pennsylvania Department of Revenue                                  1 Revenue Place                                                      Harrisburg        PA     17129-001
Utah                                       Utah State Tax Commission                                           210 North 1950 West                                                  Salt Lake City    UT         84134
Wisconsin                                  Wisconsin Department of Revenue                                     PO Box 8966                                                          Madison           WI         53708
West Virginia                              State of West Virginia                                              State Tax Dept                             PO Box 1667               Charleston        WV         25326
Mentor                                     City of Mentor                                                      8500 Civic Center Boulevard                                          Mentor            OH         44060
Bowling Green                              City of Bowling Green                                               PO Box 1410                                                          Bowling Green     KY         42102
St. Clairsville                            City of St. Clairsville                                             100 North Market St.                       PO Box 537                St. Clairsville   OH         43950
Allen                                      Allen County                                                        1 E Main Street                            Suite 102                 Fort Wayne        IN         46802
Monroe                                     Monroe County                                                       100 W Kirkwood Ave                         Rm 204                    Bloomington       IN         47404
Morgan                                     Morgan County                                                       180 South Main St.                                                   Martinsville      IN         46151
Grant                                      Grant County                                                        401 S Adams Street                                                   Marion            IN         46953
Delaware                                   Delaware County                                                     100 W Main St                                                        Muncie            IN         47305
Warren                                     Warren County Schools                                               Occupational Tax Office                    PO Bo 51530               Bowling Green     KY         42102
Springdale                                 City of Springdale                                                  11700 Springfield Pike                                               Springdale        OH         45246
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Ontario                             City of Ontario                                                  555 Stumbo Road                                        Ontario            OH        44906
Florence                            PO Box 1357                                                                                                             Florence           KY        41022
Boone County                        Boone County Fiscal Court                                        2950 Washington Street       PO Box 960                Burlington         KY        41005
Zanesville                          City of Zanesville                                               401 Market Street            City Hall - Rm 118        Zanesville         OH        43701
Monroeville                         Municipality of Monroeville                                      2700 Monroeville Blvd                                  Monroeville        PA        15146
Vigo                                Vigo County                                                      191 Oak St                                             Terre Haute        IN        47807
Fountain                            Fountain County                                                  301 4th St                                             Covington          IN        47932
Tippecanoe                          Tippecanoe County                                                20 N 3rd Street                                        Lafayette          IN        47901
Flint                               City of Flint                                                    1101 S Saginaw St                                      Flint              MI        48502
Wayne                               Wayne County                                                     401 East Main                                          Richmond           IN        47374
Vigo                                Vigo County                                                      191 Oak St                                             Terre Haute        IN        47807
Johnson                             Johnson County                                                   86 W. Court St.                                        Franklin           IN        46131
Marion                              Marion County                                                    200 E. Washington St.        Suite 2222                Indianapolis       IN        46204
Benton                              Benton County                                                    706 E. 5th Street                                      Fowler             IN        47944
Carroll                             Carroll County                                                   114 E. Main Street Suite C   PO Box 175                Delphi             IN        46923
Clinton                             Clinton County                                                   220 Courthouse Square                                  Frankfort          IN        46041
Dubois                              County of Dubois                                                 One Courthouse Square                                  Jasper             IN        47546
Greene                              Greene County                                                    1 E Main St.                                           Bloomfield         IN        47424
Hendricks                           Hendricks County                                                 355 S Washington St          Mailbox 215               Danville           IN        46122
Howard                              Howard County                                                    220 N Main                                             Kokomo             IN        46901
Jasper                              Jasper County                                                    115 W Washington St                                    Rensselaer         IN        47978
Jay                                 Jay County                                                       120 Court Street                                       Portland           IN        47371
Lawrence                            City of Lawrence                                                 9001 East 59th Street                                  Lawrence           IN        46216
Madison                             City of Madison                                                  101 W. Main St.                                        Madison            IN        47250
Owen                                Owen County                                                      60 S Main St                 Rm 102B                   Spencer            IN        47460
Randolph                            Randolph County                                                  100 South Main Street        Room # 103                Winchester         IN        47394
Lake                                Lake County                                                      2293 N. Main Street          Bldg A, 2nd Floor         Crown Point        IN        46307
Sullivan                            Sullivan County                                                  100 Courthouse Square        Room 201                  Sullivan           IN        47882
White                               White County                                                     124 North Main Street        Suite A                   Monticello         IN        47960
Whitley                             Whitley County                                                   220 W Van Buren St           Suite 208                 Columbia City      IN        46725
Adams                               Adams County                                                     313 W. Jefferson Street                                Decatur            IN        46733
Penn Hills TWP                      The Municipality of Penn Hills                                   12245 Frankstown Road                                  Penn Hills         PA        15235
McKeesport City                     City of McKeesport                                               500 Fifth Avenue                                       McKeesport         PA        15132
Pulaski Twp                         Berkheimer                                                       PO Box 25156                                           Lehigh Valley      PA        18002
Springhill TWp                      Springhill Township                                              268 Windy Gap Road                                     Aleppo             PA        15310
PSD-CD Springhill                   Fayette Tax Collection District, Southwest Regional Tax Bureau   One Centennial Way                                     Scottdale          PA        18013
PSD-SC Pulaski                      Lawrence Tax Collection District, Berkheimer Tax Administrator   50 North Seventh Street                                Bangor             PA        18013
PSD DS Monroeville                  Municipality of Monroeville                                      2700 Monroeville Blvd                                  Monroeville        PA        15146
Noble                               Noble County                                                     101 N Orange St.                                       Albion             IN        46701
Ohio School District                Ohio Department of Taxation                                      PO Box 182401                                          Columbus           OH   43218-2401
                                    Ohio Department of Taxation                                      PO Box 182401                                          Columbus           OH   43218-2401
                                    Ohio Department of Taxation                                      PO Box 182401                                          Columbus           OH   43218-2401
                                    Ohio Department of Taxation                                      PO Box 182401                                          Columbus           OH   43218-2401
                                    Ohio Department of Taxation                                      PO Box 182401                                          Columbus           OH   43218-2401
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                                    Ohio Department of Taxation                                      PO Box 182401                                          Columbus           OH   43218-2401
                                    Ohio Department of Taxation                                      PO Box 182401                                          Columbus           OH   43218-2401
                                    Ohio Department of Taxation                                      PO Box 182401                                          Columbus           OH   43218-2401
                                    Ohio Department of Taxation                                      PO Box 182401                                          Columbus           OH   43218-2401
                                    Ohio Department of Taxation                                      PO Box 182401                                          Columbus           OH   43218-2401
                                    Ohio Department of Taxation                                      PO Box 182401                                          Columbus           OH   43218-2401
                                    Ohio Department of Taxation                                      PO Box 182401                                          Columbus           OH   43218-2401
                                    Ohio Department of Taxation                                      PO Box 182401                                          Columbus           OH   43218-2401
MUNICIPALITY OF MONROEVILLE         LOCAL SERVICE TAX                                                LST 2700 MONROEVILLE BLVD                              MONROEVILLE        PA        15146
GARLAND COUNTY GOVT                 REBECCA DODD-TALBERT                                             200 WOODBINE ST STE 108                                HOT SPRINGS        AR        71901
CRAIGHEAD COUNTY                    COLLECTOR                                                        PO BOX 9276                                            JONESBORO          AR        72403
SEBASTIAN COUNTY                    TAX COLLECTOR                                                    PO BOX 1358                                            FT. SMITH          AR        72902
WASHINGTON COUNTY                   DAVID RUFF, TAX COLLECTOR                                        280 N COLLEGE, SUITE 202                               FAYETTEVILLE       AR        72701
TREASURER EL PASO COUNTY            P.O. BOX 2018                                                                                                           COLORADO SPRINGS   CO        80901
PUEBLO COUNTY TREASURER             215 WEST 10TH ST                                                 ROOM 110                                               PUEBLO             CO        81003
MESA COUNTY TREASURER               PO BOX 173678                                                                                                           DENVER             CO        80217
KOOTENAI COUNTY TREASURER           P.O. BOX 6700                                                                                                           COEUR D'ALENE      ID        83816
BONNEVILLE COUNTY                   TAX COLLECTOR                                                    605 N CAPITAL AVE                                      IDAHO FALLS        ID        83402
TWIN FALLS COUNTY TREAS.            DEBBIE KAUFFMAN                                                  BOX 88                                                 TWIN FALLS         ID        83303
TREASURER, ALLEN COUNTY             PO BOX 2540                                                                                                             FORT WAYNE         IN        46801
MONROE COUNTY TREASURER             100 W KIRKWOOD AVE                                               ROOM 204                                               BLOOMINGTON        IN        47404
JOHNSON COUNTY TREASURER            PO BOX 6095                                                                                                             INDIANAPOLIS       IN        46207
ST. JOSEPH COUNTY                   TREASURER                                                        PO BOX 4758                                            SOUTH BEND         IN        46634
TREASURER VIGO COUNTY               TAX PROCESSING CENTER                                            PO BOX 1466                                            INDIANAPOLIS       IN        46206
TIPPECANOE COUNTY TREASURER         20 N 3RD ST                                                                                                             LAFAYETTE          IN        47901
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HOWARD COUNTY TREASURER              220 N MAIN ST                          ROOM 226                             KOKOMO          IN   46901
DELAWARE COUNTY TREASURER            100 W MAIN ST                          ROOM 102                             MUNCIE          IN   47305
ELLIS COUNTY TREASURER               PO BOX 520                                                                  HAYS            KS   67601
SALINE COUNTY TREASURER              PO BOX 5040                            ROOM 214                             SALINA          KS   67401
STERLING HEIGHTS, CITY OF            DEPARTMENT 181601                      PO BOX 55000                         DETROIT         MI   48255
TAYLOR CITY OF                       PO BOX 335                                                                  TAYLOR          MI   48180
FRENCHTOWN TREASURER                 2744 VIVIAN ROAD                                                            MONROE          MI   48162
CHARTER TOWNSHIP OF FLINT            LISA ANDERSON, TREASURER               1490 S DYE ROAD                      FLINT           MI   48532
AUBURN HILLS, CITY OF                1827 N SQUIRREL ROAD                                                        AUBURN HILLS    MI   48326
GRANDVILLE, CITY OF                  DEPT #200                              P.O. BOX 2545                        GRAND RAPIDS    MI   49501
MERIDIAN TOWNSHIP                    JULIE BRIXIE, TREASURER                5151 MARSH RD                        OKEMOS          MI   48864
COLLECTOR OF REVENUE                 LEAH BETTS                             940 N BOONVILLE AVE                  SPRINGFIELD     MO   65802
BOONE COUNTY COLLECTOR               BRIAN MCCOLLUM                         801 EAST WALNUT RM 118               COLUMBIA        MO   65201
BUCHANAN COUNTY                      PEGGY CAMPBELL, COLLECTOR              411 JULES ST SUITE 123               ST JOSEPH       MO   64501
COLLECTOR OF REVENUE                 LEAH BETTS                             940 N BOONVILLE AVE                  SPRINGFIELD     MO   65802
JASPER COUNTY COLLECTOR              STEPHEN H HOLT                         PO BOX 421                           CARTHAGE        MO   64836
JACKSON COUNTY COLLECTOR             PO BOX 219747                                                               KANSAS CITY     MO   64121
MISSOULA COUNTY TREASURER            200 W. BROADWAY STREET                                                      MISSOULA        MT   59802
YELLOWSTONE COUNTY TREAS.            PO BOX 35010                                                                BILLINGS        MT   59107
GALLATIN COUNTY TREASURER            311 W MAIN                             RM 103                               BOZEMAN         MT   59715
BUTTE-SILVER BOW                     TREASURER                              PO BOX 611                           BUTTE           MT   59703
CASCADE COUNTY TREASURER             PO BOX 2549                                                                 GREAT FALLS     MT   59403
BUNCOMBE COUNTY TAX DEPT             94 COXE AVENUE                                                              ASHEVILLE       NC   28801
FORSYTH COUNTY TAX                   COLLECTOR                              PO BOX 82                            WINSTON SALEM   NC   27102
DOUGLAS COUNTY TREASURER             PROPERTY TAX DIVISION                  PO BOX 2855                          OMAHA           NE   68103
LANCASTER COUNTY TREAS.              ANDY STEBBING                          555 SOUTH 10TH STREET                LINCOLN         NE   68508
DOUGLAS COUNTY TREASURER             PROPERTY TAX DIVISION                  PO BOX 2855                          OMAHA           NE   68103
HALL COUNTY TREASURER                PEGGY L PESEK                          121 S PINE, STE 2                    GRAND ISLAND    NE   68801
BUFFALO COUNTY TREASURER             JEAN A. SIDWELL, TREAS.                P.O. BOX 1270                        KEARNEY         NE   68848
SCOTTS BLUFF COUNTY                  TREASURER                              1825 10TH STREET                     GERING          NE   69341
MADISON COUNTY TREASURER             DONNA J. PRIMROSE                      BOX 270                              MADISON         NE   68748
GARFIELD COUNTY TREASURER            KEVIN R. POSTIER                       PO BOX 489                           ENID            OK   73702
OKLAHOMA COUNTY TREASURER            FORREST "BUTCH" FREEMAN                PO BOX 268875                        OKLAHOMA CITY   OK   73126
TULSA COUNTY TREASURER               DENNIS SEMLER                          PO BOX 21017                         TULSA           OK   74121
JOHNSON CITY, CITY OF                PO BOX 2150                                                                 JOHNSON CITY    TN   37605
WASHINGTON COUNTY TRUSTEE            MONTY TREADWAY                         PO BOX 215                           JONESBOROUGH    TN   37659
MURFREESBORO, CITY OF                PO BOX 1139                                                                 MURFREESBORO    TN   37133
RUTHERFORD COUNTY TRUSTEE            PO BOX 1316                                                                 MURFREESBORO    TN   37133
CLARKSVILLE, CITY OF                 DEPT OF FINANCE & REVENUE              PO BOX 928                           CLARKSVILLE     TN   37041
MONTGOMERY COUNTY TRUSTEE            PO BOX 1005                                                                 CLARKSVILLE     TN   37041
MARCO, INC.                          PO BOX 660831                                                               DALLAS          TX   75266
MARCO, INC.                          PO BOX 660831                                                               DALLAS          TX   75266
MARCO, INC.                          PO BOX 660831                                                               DALLAS          TX   75266
MARCO, INC.                          PO BOX 660831                                                               DALLAS          TX   75266
MARCO, INC.                          PO BOX 660831                                                               DALLAS          TX   75266
MARCO, INC.                          PO BOX 660831                                                               DALLAS          TX   75266
LUBBOCK CENTRAL APPRAISAL            DISTRICT                               PO BOX 10568 - 2109 AVE Q            LUBBOCK         TX   79408
MARCO, INC.                          PO BOX 660831                                                               DALLAS          TX   75266
POTTER COUNTY TAX ASSESS.            SHERRI AYLOR PCC                       P.O. BOX 2289                        AMARILLO        TX   79105
MARCO, INC.                          PO BOX 660831                                                               DALLAS          TX   75266
TOM GREEN APPRAISAL DISTRICT         P.O. BOX 3307                                                               SAN ANGELO      TX   76902
TOM GREEN APPRAISAL DISTRICT         P.O. BOX 3307                                                               SAN ANGELO      TX   76902
MARCO, INC.                          PO BOX 660831                                                               DALLAS          TX   75266
JEFFERSON COUNTY TAX                 ASSESSOR COLLECTOR                     PO BOX 2112                          BEAUMONT        TX   77704
MARCO, INC.                          PO BOX 660831                                                               DALLAS          TX   75266
MCLENNAN COUNTY TAX                  ASSESSOR-COLLECTOR                     PO BOX 406                           WACO            TX   76703
MARCO, INC.                          PO BOX 660831                                                               DALLAS          TX   75266
MIDLAND CENTRAL                      APPRAISAL DISTRICT                     PO BOX 908002                        MIDLAND         TX   79708
MARCO, INC.                          PO BOX 660831                                                               DALLAS          TX   75266
SMITH COUNTY TAX OFFICE              GARY B. BARBER                         PO BOX 2011                          TYLER           TX   75710
MARCO, INC.                          PO BOX 660831                                                               DALLAS          TX   75266
MARCO, INC.                          PO BOX 660831                                                               DALLAS          TX   75266
MARCO, INC.                          PO BOX 660831                                                               DALLAS          TX   75266
MARCO, INC.                          PO BOX 660831                                                               DALLAS          TX   75266
MARCO, INC.                          PO BOX 660831                                                               DALLAS          TX   75266
MARCO, INC.                          PO BOX 660831                                                               DALLAS          TX   75266
MARCO, INC.                          PO BOX 660831                                                               DALLAS          TX   75266
MARCO, INC.                          PO BOX 660831                                                               DALLAS          TX   75266
MARCO, INC.                          PO BOX 660831                                                               DALLAS          TX   75266
TAX ASSESSOR-COLLECTOR               PO BOX 6527                                                                 TEXARKANA       TX   75505
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TAX ASSESSOR-COLLECTOR                       PO BOX 6527                                                                        TEXARKANA        TX        75505
MARCO, INC.                                  PO BOX 660831                                                                      DALLAS           TX        75266
MARCO, INC.                                  PO BOX 660831                                                                      DALLAS           TX        75266
MARCO, INC.                                  PO BOX 660831                                                                      DALLAS           TX        75266
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MARCO, INC.                                  PO BOX 660831                                                                      DALLAS           TX        75266
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MARCO, INC.                                  PO BOX 660831                                                                      DALLAS           TX        75266
MARCO, INC.                                  PO BOX 660831                                                                      DALLAS           TX        75266
MARCO, INC.                                  PO BOX 660831                                                                      DALLAS           TX        75266
MARCO, INC.                                  PO BOX 660831                                                                      DALLAS           TX        75266
SALT LAKE COUNTY ASSESSOR                    PO BOX 410470                                                                      SALT LAKE CITY   UT        84141
WEBER COUNTY ASSESSOR                        2380 WASHINGTON BLVD                          STE 380                              OGDEN            UT        84401
SALT LAKE COUNTY ASSESSOR                    PO BOX 410470                                                                      SALT LAKE CITY   UT        84141
CACHE COUNTY ASSESSOR                        179 NORTH MAIN                                SUITE 205                            LOGAN            UT        84321
DAVIS COUNTY ASSESSOR                        PO BOX 618                                                                         FARMINGTON       UT        84025
BENTON COUNTY TREASURER                      5600 W CANAL DR, STE A                                                             KENNEWICK        WA        99336
WHATCOM COUNTY TREASURER                     PO BOX 34873                                                                       SEATTLE          WA        98124
EAU CLAIRE COUNTY                            TREASURER                                     721 OXFORD AVE                       EAU CLAIRE       WI        54703
LA CROSSE CITY TREASURER                     CITY OF LA CROSSE                             400 LA CROSSE ST                     LA CROSSE        WI        54601
BROWN COUNTY TREASURER                       305 E WALNUT ST                               PO BOX 23600                         GREEN BAY        WI        54305
RACINE, CITY OF                              TAX PAYMENTS                                  PO BOX 88661                         MILWAUKEE        WI        53288
BROOKFIELD, CITY OF                          UTILITIES                                     2000 N CALHOUN RD                    BROOKFIELD       WI        53005
FOND DU LAC                                  CITY TREASURER                                PO BOX 150                           FOND DU LAC      WI        54936
ROCK COUNTY TREASURER                        ROCK COUNTY COURTHOUSE                        PO BOX 1508                          JANESVILLE       WI        53547
GRAND CHUTE, TOWN OF                         TOWN TREASURER                                1900 W GRAND CHUTE BLVD              GRAND CHUTE      WI        54913
VILLAGE OF GREENDALE                         WATER/SEWER                                   PO BOX 257                           GREENDALE        WI        53129
WAUSAU, CITY OF                              TREASURER                                     PO BOX 3051                          MILWAUKEE        WI        53201
MADISON, CITY OF                             CITY TREASURER                                P.O. BOX 2999                        MADISON          WI        53701
WOOD COUNTY SHERIFF                          ATTN: TREASURER OFFICE                        PO BOX 1985                          PARKERSBURG      WV        26102
MONONGALIA COUNTY                            SHERIFF OF                                    243 HIGH ST, RM 26 TAX               MORGANTOWN       WV        26505
NATRONA COUNTY TREASURER                     PO BOX 2290                                                                        CASPER           WY        82602
SCOTT SHIPMAN, ASSESSOR                      201 N SECOND ST                               RM 141                               ST CHARLES       MO        63301
LARAMIE COUNTY ASSESSOR                      PO BOX 307                                                                         CHEYENNE         WY        82003
CITY OF BROOKFIELD ASSESSOR                  2000 N CALHOUN RD                                                                  BROOKFIELD       WI        53005
GREGG APPRAISAL DISTRICT                     4367 W LOOP 281                                                                    LONGVIEW         TX        75604
BOONE COUNTY                                 TOM SCHAUWECKER, ASSESSOR                     801 E WALNUT ST RM 143               COLUMBIA         MO        65201
GUILFORD COUNTY ASSESSOR                     PO BOX 3138                                                                        GREENSBORO       NC        27402
DALLAS COUNTY TAX OFFICE                     PO BOX 139066                                                                      DALLAS           TX        75313
ALABAMA DEPARTMENT OF REVENUE                SALES AND USE TAX DIVISION                    PO BOX 327710                        MONTGOMERY       AL   36132-7710
STATE OF ARKANSAS                            SALES AND USE TAX SECTION                     PO BOX 3566                          LITTLE ROCK      AR   72203-3566
COLORADO DEPARTMENT OF REVENUE               TAXATION DIVISION                                                                  DENVER           CO   80261-0013
GRAND JUNCTION, CITY OF                      CUSTOMER SERVICE DIVISION-SALES TAX           PO BOX 1809                          GRAND JUNCTION   CO   81502-1809
GREELEY, CITY OF-SLS TAX                     PO BOX 1648                                                                        GREELEY          CO        80632
IOWA DEPARTMENT OF REVENUE                   PO BOX 10457                                                                       DES MOINES       IA        50306
PUEBLO, CITY OF                              PO BOX 1427                                                                        PUEBLO           CO        81002
IDAHO STATE TAX COMMISSION                   PO BOX 36                                                                          BOISE            ID   83722-0410
ILLINOIS DEPARTMENT OF REVENUE               RETAILER'S OCCUPATION TAX                                                          SPRINGFIELD      IL    62796-001
INDIANA DEPARTMENT OF REVENUE                CONSOLIDATED SALES TAX                        100 N SENATE AVENUE                  INDIANAPOLIS     IN   46204-2253
KANSAS DEPARTMENT OF REVENUE                 DIVISION OF TAXATION                          915 SW HARRISON ST                   TOPEKA           KS        66612
KENTUCKY DEPARTMENT OF REVENUE               501 HIGH STREET                                                                    FRANKFORT        KY        40601
MICHIGAN DEPARTMENT OF TREASURY              PO BOX 30324                                                                       LANSING          MI   48909-7824
MINNESOTA DEPARTMENT OF REVENUE              SALES & USE TAX DIVISION                      MAIL STATION 6330                    ST PAUL          MN   55146-6330
NC DEPARTMENT OF REVENUE                     SALES & USE TAX DIVISION                      PO BOX 25000                         RALEIGH          NC   27640-0001
OFFICE OF THE STATE TAX COMMISSIONER         600 E BOULEVARD AVENUE, DEPT 127                                                   BISMARCK         ND   58505-0599
MISSOURI DEPARTMENT OF REVENUE               TAXATION DIVISION                             PO BOX 840                           JEFFERSON CITY   MO   65105-0840
NEBRASKA DEPARTMENT OF REVENUE               PO BOX 98923                                                                       LINCOLN          NE   68509-8923
NEW YORK STATE SALES TAX                     NY DEPARTMENT OF TAXATION AND FINANCE         W A HARRIMAN CAMPUS                  ALBANY           NY        12227
OHIO DEPARTMENT OF TAXATION                  PO BOX 530                                                                         COLUMBUS         OH   43216-0530
OKLAHOMA TAX COMMISSION                      2501 N LINCOLN BLVD                                                                OKLAHOMA CITY    OK        73194
PENNSYLVANIA DEPARTMENT OF REVENUE           PO BOX 280905                                                                      HARRISBURG       PA   17128-0905
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SOUTH DAKOTA DEPARTMENT OF REVENUE                 445 E CAPITAL AVENUE                                                                                                  PIERRE             SD   57501-3185
TENNESSEE DEPARTMENT OF REVENUE                    ANDREW JACKSON STATE OFFICE BUILDING                                                                                  NASHVILLE          TN        37242
COMPTROLLER OF PUBLIC ACCOUNTS                     PO BOX 149355                                                                                                         AUSTIN             TX   78714-9355
UTAH STATE TAX COMMISSION                          210 N 1950 W                                                                                                          SALT LAKE CITY     UT        84134
STATE OF WASHINGTON                                DEPARTMENT OF REVENUE                         PO BOX 47464                                                            OLYMPIA            WA   98504-7464
WISCONSIN DEPARTMENT OF REVENUE                    PO BOX 98949                                                                                                          MADISON            WI   53708-8949
WEST VIRGINIA DEPARTMENT OF REVENUE                THE REVENUE CENTER                            1001 LEE ST E                                                           CHARLESTON         WV   25301-1725
WYOMING DEPARTMENT OF REVENUE                      122 W 25TH ST, 2W                                                                                                     CHEYENNE           WY   82002-0110
ARIZONA DEPARTMENT OF REVENUE                      ATTN: TRANSACTION PRIVILEGE & USE TAX         PO BOX 29010                                                            PHOENIX            AZ   85038-9010
STATE OF CONNECTICUT                               DEPARTMENT OF REVENUE                         450 COLUMBUS BOULEVARD, SUITE 1                                         HARTFORD           CT   06103-1837
FLORIDA DEPARTMENT OF REVENUE                      5050 W TENNESSEE STREET                                                                                               TALLAHASSEE        FL   32399-0120
COMPTROLLER OF MARYLAND                            REVENUE ADMINISTRATION DIVISION               PO BOX 17405                                                            BALTIMORE          MD   21297-1405
MASSACHUSETTS DEPARTMENT OF REVENUE                PO BOX 419257                                                                                                         BOSTON             MA   02241-9257
STATE OF NEVADA                                    SALES/USE                                     PO BOX 7165                                                             SAN FRANCISCO      CA   94120-7165
VIRGINIA DEPARTMENT OF TAXATION                    OUT-OF-STATE DEALER'S USE TAX                 PO BOX 26627                                                            RICHMOND           VA   23261-6627
ARIZONA CORPORATION COMMISSION                     CORPORATIONS DIVISION                         1300 WEST WASHINGTON                                                    PHOENIX            AZ   85007-2929
COLORADO DEPARTMENT OF STATE                       BUSINESS & LICENSING                          1700 BROADWAY, SUITE 200                                                DENVER             CO        80290
IOWA SECRETARY OF STATE                            321 EAST 12TH ST                                                                                                      DES MOINES         IA        50319
JESSE WHITE SECRETARY OF STATE                     DEPARTMENT OF BUSINESS SERVICES               501 S 2ND STREET                                                        SPRINGFIELD        IL   62756-5510
OFFICE OF THE INDIANA SECRETARY OF STATE           302 W WASHINGTON ST                           ROOM E-018                                                              INDIANAPOLIS       IN        46204
KANSAS OFFICE OF THE SECRETARY OF STATE            120 SW 10TH AVE                                                                                                       TOPEKA             KS   66612-1594
ALISON LUNDERGAN GRIMES                            SECRETARY OF STATE                            PO BOX 1150                                                             FRANKFORT          KY   40602-1150
CORPORATIONS DIVISION                              PO BOX 30702                                                                                                          LANSING            MI        48909
MINNESOTA SECRETARY OF STATE - BUSINESS SERVICES   RETIREMENT SYSTEMS OF MINNESOTA BUILDING      60 EMPIRE DRIVE, SUITE 100                                              ST PAUL            MN        55103
SECRETARY OF STATE                                 PO BOX 1366                                                                                                           JEFFERSON CITY     MO        65102
MONTANA SECRETARY OF STATE                         PO BOX 202801                                                                                                         HELENA             MT        59620
NC SECRETARY OF STATE                              PO BOX 29622                                                                                                          RALEIGH            NC        27626
SECRETARY OF STATE                                 STATE OF NORTH DAKOTA                         PO BOX 5513                                                             BISMARCK           ND   58506-5513
STATE OF NEBRASKA                                  STATE CAPITOL, SUITE 301                      PO BOX 94608                                                            LINCOLN            NE   68509-4608
SECRETARY OF STATE                                 CORPORATIONS BUREAU                           325 DON GASPAR, SUITE 300                                               SANTA FE           NM        87501
SECRETARY OF STATE                                 202 NORTH CARSON STREET                                                                                               CARSON CITY        NV   89701-4201
NYS DIVISION OF CORPORATIONS                       STATE RECORDS & UNIFORM COMMERICAL CODE       ONE COMMERCE PLAZA, 99 WASHINGTON AVE                                   ALBANY             NY    12231-001
SECRETARY OF STATE                                 CAPITOL BUILDING                              500 EAST CAPITOL AVENUE                                                 PIERRE             SD        57501
STATE OF TENNESSEE                                 DIVISION OF BUSINESS SERVICES                 WILLIAM R SNODGRASS TOWER               312 ROSA L. PARKS, AVE 6TH FL   NASHVILLE          TN   37243-1102
STATE OF UTAH                                      DEPARTMENT OF COMMERCE                        PO BOX 146705                                                           SALT LAKE CITY     UT   84114-6705
STATE OF WASHINGTON                                BUSINESS LICENSING SERVICE                    PO BOX 47475                                                            OLYMPIA            WA   98504-7475
STATE OF WISCONSIN                                 DIVISION OF CORPORATE & CONSUMER SERVICES     PO BOX 7846                                                             MADISON            WI   53707-7846
SECRETARY OF STATE                                 BLDG 1, SUITE 157-K                           1900 KANAWHA BLVD EAST                                                  CHARLESTON         WV   25305-0770
WYOMING SECRETARY OF STATE                         200 WEST 24TH STREET                                                                                                  CHEYENNE           WY   82002-0020
NEBRASKA DEPARTMENT OF REVENUE                     PO BOX 94818                                                                                                          LINCOLN            NE   68509-4818
NEBRASKA DEPARTMENT OF REVENUE                     PO BOX 94818                                                                                                          LINCOLN            NE   68509-4818
NEBRASKA DEPARTMENT OF REVENUE                     PO BOX 94818                                                                                                          LINCOLN            NE   68509-4818
NEBRASKA DEPARTMENT OF REVENUE                     PO BOX 94818                                                                                                          LINCOLN            NE   68509-4818
NEBRASKA DEPARTMENT OF REVENUE                     PO BOX 94818                                                                                                          LINCOLN            NE   68509-4818
NEBRASKA DEPARTMENT OF REVENUE                     PO BOX 94818                                                                                                          LINCOLN            NE   68509-4818
NEBRASKA DEPARTMENT OF REVENUE                     PO BOX 94818                                                                                                          LINCOLN            NE   68509-4818
STATE OF WASHINGTON                                BUSINESS LICENSING SERVICE                    PO BOX 47475                                                            OLYMPIA            WA   98504-7475
BILLINGS, CITY OF                                  DEPT OF FINANCE                               PO BOX 1178                                                             BILLINGS           MT    000059103
BOZEMAN, CITY OF                                   121 N ROUSE AVE                               PO BOX 1230                                                             BOZEMAN            MT    000059771
GREAT FALLS, CITY OF                               P.O. BOX 5021                                                                                                         GREAT FALLS        MT    000059403
FOND DU LAC                                        CITY TREASURER                                PO BOX 150                                                              FOND DU LAC        WI    000054936
VILLAGE OF GREENDALE                               WATER/SEWER                                   PO BOX 257                                                              GREENDALE          WI    000053129
INDEPENDENCE, CITY OF                              LICENSE DIVISION                              P.O. BOX 1019                                                           INDEPENDENCE       MO    000064051
SCOTTSBLUFF, CITY OF                               2525 CIRCLE DR                                                                                                        SCOTTSBLUFF        NE    000069361
CITY OF CHUBBUCK                                   P.O. BOX 5604                                 5160 YELLOWSTONE AVENUE                                                 CHUBBOCK           ID    000083202
OGDEN CITY CORPORATION                             COMMUNITY DEVELOP. DEPT                       2549 WASHINGTON BLVD #240                                               OGDEN              UT    000084401
CLARKSVILLE, CITY OF                               DEPT OF FINANCE & REVENUE                     PO BOX 928                                                              CLARKSVILLE        TN    000037041
SAGINAW CHARTER TOWNSHIP                           WATER DEPARTMENT                              PO BOX 6400                                                             SAGINAW            MI    000048608
MURRAY CITY                                        BUSINESS LICENSING                            4646 S 500 W                                                            MURRAY             UT    000084123
CITY OF LOGAN V88                                  BUSINESS LICENSING                            290 NORTH 100 WEST                                                      LOGAN              UT    000084321
LAYTON COUNTY BUSINESS                             LICENSING                                     437 N WASATCH DR                                                        LAYTON             UT    000084041
LA CROSSE CITY TREASURER                           CITY OF LA CROSSE                             400 LA CROSSE ST                                                        LA CROSSE          WI    000054601
ASHWAUBENON, VILLAGE OF                            2155 HOLMGREN WAY                                                                                                     ASHWAUBENON        WI    000054304
SANDY CITY                                         BUSINESS LICENSE-STE #210                     10000 CENTENNIAL PARKWAY                                                SANDY              UT    000084070
MISSOULA CITY FINANCE                              BUSINESS LICENSING                            435 RYMAN ST                                                            MISSOULA           MT    000059802
MISSOULA, CITY OF                                  BUSINESS LICENSING                            435 RYMAN STREET                                                        MISSOULA           MT    000059802
FAIRVIEW HEIGHTS, CITY OF                          CITY CLERK'S OFFICE                           10025 BUNKUM ROAD                                                       FAIRVIEW HEIGHTS   IL    000062208
FLORENCE, CITY OF                                  PO BOX 1357                                                                                                           FLORENCE           KY    000041022
ASHLAND, CITY OF                                   DEPT OF FINAN/OCC LICENSE                     PO BOX 1839                                                             ASHLAND            KY    000041105
PUEBLO, CITY OF                                    SALES TAX DIVISION                            P.O. BOX 1427                                                           PUEBLO             CO    000081002
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MUNICIPALITY OF                              MONROEVILLE                                      2700 MONROEVILLE BLVD                       MONROEVILLE      PA    000015146
VIENNA, CITY OF                              OFFICE OF THE TREASURER                          P.O. BOX 5097                               VIENNA           WV    000026105
CITY OF WESTOVER                             500 DUPONT ROAD                                                                              WESTOVER         WV    000026501
TOWN OF HENRIETTA                            BUILDING/FIRE PREVENTION                         475 CALKINS ROAD                            HENRIETTA        NY    000014467
CHARTER TOWNSHIP                             OF PORTAGE TREASURER                             47240 GREEN ACRES ROAD                      HOUGHTON         MI    000049931
SPRINGFIELD, CITY OF                         DEPT OF FINANCE/LICENSE                          PO BOX 8368                                 SPRINGFIELD      MO    000065801
COLUMBIA, CITY OF                            BUSINESS LICENSE DIVISION                        PO BOX 6015                                 COLUMBIA         MO    000065205
CITY OF ST. JOSEPH                           1100 FREDERICK AVENUE                                                                        ST JOSEPH        MO    000064501
CITY OF ST. PETERS                           BUSINESS LICENSING                               PO BOX 9                                    SAINT PETERS     MO    000063376
JOPLIN, CITY OF                              602 SOUTH MAIN ST                                                                            JOPLIN           MO    000064801
CHARTER TOWNSHIP OF FLINT                    LISA ANDERSON, TREASURER                         1490 S DYE ROAD                             FLINT            MI    000048532
CITY OF ST PETERS, MISSOURI                  PO BOX 9                                         ONE ST PETERS CENTRE BLVD                   ST PETERS        MO        63376
STATE OF WASHINGTON                          BUSINESS LICENSING SERVICE                       PO BOX 47475                                OLYMPIA          WA   98504-7475
STATE OF WASHINGTON                          BUSINESS LICENSING SERVICE                       PO BOX 47475                                OLYMPIA          WA   98504-7475
STATE OF WASHINGTON                          BUSINESS LICENSING SERVICE                       PO BOX 47475                                OLYMPIA          WA   98504-7475
STATE OF WASHINGTON                          BUSINESS LICENSING SERVICE                       PO BOX 47475                                OLYMPIA          WA   98504-7475
NEVADA DEPT OF TAXATION                      1550 COLLEGE PARKWAY                             SUITE 115                                   CARSON CITY      NV    000089706
MUNICIPALITY OF                              MONROEVILLE                                      2700 MONROEVILLE BLVD                       MONROEVILLE      PA    000015146
MANHATTAN, CITY OF                           COMMUNITY DEVELOPMENT                            1101 POYNTZ                                 MANHATTAN        KS    000066502
ARKANSAS SECRETARY OF STATE                  BUSINESS & COMMERICAL SERVICES DIVISION          1401 WEST CAPITOL AVENUE                    LITTLE ROCK      AR   72201-2937
CORPORATION INCOME TAX                       PO BOX 919                                                                                   LITTLE ROCK      AR   72203-0919
COLORADO DEPARTMENT OF REVENUE                                                                                                            DENVER           CO   80261-0006
CORPORATION TAX RETURN PROCESSING            IOWA DEPARTMENT OF REVENUE                       PO BOX 10468                                DES MOINES       IA   50306-0468
IDAHO STATE TAX                              COMMISSION                                       PO BOX 83784                                BOISE            ID    000083707
ILLINOIS DEPARTMENT OF REVENUE               PO BOX 19008                                                                                 SPRINGFIELD      IL   62794-9008
INDIANA DEPARTMENT OF REVENUE                PO BOX 7231                                                                                  INDIANAPOLIS     IN   46207-7231
CORPORATE INCOME TAX                         KANSAS                                           915 SW HARRISON ST                          TOPEKA           KS   66612-1588
BOWLING GREEN, CITY OF                       BOWLING GREEN, CITY OF                           PO BOX 1410                                 BOWLING GREEN    KY    000042102
KENTUCKY STATE TREASURER                     KENTUCKY DEPT OF REVENUE                                                                     FRANKFORT        KY    000040620
OCCUPATIONAL TAX ADMIN.                      PO BOX 10008                                                                                 OWENSBORO        KY    000042302
MICHIGAN DEPT OF TREASURY                    PO BOX 30803                                                                                 LANSING          MI        48909
CITY OF FLINT INCOME TAX DIVISION            PO BOX 529                                                                                   EATON RAPIDS     MI   48827-0529
CITY OF SAGINAW INCOME TAX DIVISION          1315 S WASHINGTON AVE                                                                        SAGINAW          MI        48601
MINNESOTA DEPARTMENT OF REVENUE              TAX OPERATIONS DIVISION                          MAIL STATION 4110                           ST PAUL          MN   55146-4110
MISSOURI DEPT OF REVENUE                     DIVISION OF TAXATION                             PO BOX 3390                                 JEFFERSON CITY   MO    000065105
MONTANA DEPT OF REVENUE                      DEPT 6339                                                                                    HELENA           MT    000059604
NC DEPT OF REVENUE                           PO BOX 25000                                                                                 RALEIGH          NC    000027640
WARREN COUNTY SCHOOLS                        OCCUPATIONAL NET PROFIT                          PO BOX 890944                               CHARLOTTE        NC    000028289
OFFICE OF THE STATE TAX COMMISSIONER         600 E BOULEVARD AVE.                             DEPT 127                                    BISMARCK         ND   58505-0599
NEBRASKA DEPARTMENT OF REVENUE               PO BOX 94818                                                                                 LINCOLN          NE   68509-4818
NEW MEXICO TAXATION & REV                    TAXATION & REVENUE DEPT                          PO BOX 25127                                SANTA FE         NM    000087504
NEW YORK STATE CORPORATION TAX               PO BOX 4136                                                                                  BINGHAMTON       NY   13902-4136
NYS DEPT OF TAXATION &                       FINANCE CORP-V                                   PO BOX 15163                                ALBANY           NY    000012212
CITY OF DAYTON                               PO BOX 643700                                                                                CINCINNATI       OH    000045264
ONTARIO, CITY OF                             INCOME TAX DEPT                                  PO BOX 166                                  ONTARIO          OH    000044862
SPRINGDALE, CITY OF                          SPRINGDALE CITY INCOMETAX                        11700 SPRINGFIELD PIKE                      SPRINGDALE       OH    000045246
ZANESVILLE, CITY OF                          DIVISION OF INCOME TAX                           401 MARKET STREET                           ZANESVILLE       OH    000043701
OKLAHOMA TAX COMMISSION                      BUSINESS TAX COMMISSION                          PO BOX 26800                                OKLAHOMA CITY    OK    000073126
PA DEPT OF REVENUE                           PO BOX 280404                                                                                HARRISBURG       PA    000017128
PA DEPARTMENT OF REVENUE                     BUREAU OF CORPORATION TAXES-327 WALNUT ST FL 3   PO BOX 280422                               HARRISBURG       PA   17128-2005
STATE OF TENNESSEE                           DEPARTMENT OF REVENUE                            ANDREW JACKSON STATE OFFICE BUILDING        NASHVILLE        TN        37242
TEXAS COMPTROLLER OF PUBLIC ACCOUNTS         PO BOX 49348                                                                                 AUSTIN           TX        78714
UTAH STATE TAX COMMISSION                    210 N 1950 W                                                                                 SALT LAKE CITY   UT    000084134
WISCONSIN DEPARTMENT OF REVENUE              PO BOX 8908                                                                                  MADISON          WI   53708-8908
WV STATE TAX DEPT.                           PO BOX 3852                                                                                  CHARLESTON       WV    000025338
TENNESSEE DEPT OF REVENUE                    ANDREW JACKSON ST OFFICE                         500 DEADERICK STREET                        NASHVILLE        TN    000037242
TENNESSEE DEPT OF REVENUE                    ANDREW JACKSON ST OFFICE                         500 DEADERICK STREET                        NASHVILLE        TN    000037242
TENNESSEE DEPT OF REVENUE                    ANDREW JACKSON ST OFFICE                         500 DEADERICK STREET                        NASHVILLE        TN    000037242
TENNESSEE DEPT OF REVENUE                    ANDREW JACKSON ST OFFICE                         500 DEADERICK STREET                        NASHVILLE        TN    000037242
TENNESSEE DEPT OF REVENUE                    ANDREW JACKSON ST OFFICE                         500 DEADERICK STREET                        NASHVILLE        TN    000037242
TENNESSEE DEPT OF REVENUE                    ANDREW JACKSON ST OFFICE                         500 DEADERICK STREET                        NASHVILLE        TN    000037242
UTAH DEPARTMENT OF                           AGRICULTURE & FOOD                               PO BOX 146500                               SALT LAKE CITY   UT    000084114
BOONE COUNTY COLLECTOR                       BRIAN MCCOLLUM                                   801 EAST WALNUT RM 118                      COLUMBIA         MO    000065201
BUCHANAN COUNTY                              PEGGY CAMPBELL, COLLECTOR                        411 JULES ST SUITE 123                      ST JOSEPH        MO    000064501
COLLECTOR OF REVENUE                         LEAH BETTS                                       940 N BOONVILLE AVE                         SPRINGFIELD      MO    000065802
JASPER COUNTY COLLECTOR                      STEPHEN H HOLT                                   PO BOX 421                                  CARTHAGE         MO    000064836
CITY OF WESTOVER                             500 DUPONT ROAD                                                                              WESTOVER         WV    000026501
VIENNA, CITY OF                              OFFICE OF THE TREASURER                          P.O. BOX 5097                               VIENNA           WV    000026105
STATE OF WASHINGTON                          DEPARTMENT OF REVENUE                            PO BOX 47464                                OLYMPIA          WA   98504-7464
STATE OF WASHINGTON                          DEPARTMENT OF REVENUE                            PO BOX 47464                                OLYMPIA          WA   98504-7464
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STATE OF WASHINGTON                 DEPARTMENT OF REVENUE                PO BOX 47464                         OLYMPIA       WA   98504-7464
STATE OF WASHINGTON                 DEPARTMENT OF REVENUE                PO BOX 47464                         OLYMPIA       WA   98504-7464
STATE OF WASHINGTON                 DEPARTMENT OF REVENUE                PO BOX 47464                         OLYMPIA       WA   98504-7464
SCOTTSBLUFF, CITY OF                2525 CIRCLE DR                                                            SCOTTSBLUFF   NE    000069361
OHIO DEPARTMENT OF TAXATION         PO BOX 530                                                                COLUMBUS      OH   43216-0530
OHIO DEPARTMENT OF TAXATION         PO BOX 530                                                                COLUMBUS      OH   43216-0530
OHIO DEPARTMENT OF TAXATION         PO BOX 530                                                                COLUMBUS      OH   43216-0530
OHIO DEPARTMENT OF TAXATION         PO BOX 530                                                                COLUMBUS      OH   43216-0530
OHIO DEPARTMENT OF TAXATION         PO BOX 530                                                                COLUMBUS      OH   43216-0530
OHIO DEPARTMENT OF TAXATION         PO BOX 530                                                                COLUMBUS      OH   43216-0530
OHIO DEPARTMENT OF TAXATION         PO BOX 530                                                                COLUMBUS      OH   43216-0530
OHIO DEPARTMENT OF TAXATION         PO BOX 530                                                                COLUMBUS      OH   43216-0530
OHIO DEPARTMENT OF TAXATION         PO BOX 530                                                                COLUMBUS      OH   43216-0530
ALLEN COUNTY AUDITOR                PO BOX 1243                                                               LIMA          OH        45802
MAHONING COUNTY                     120 MARKET ST                                                             YOUNGSTOWN    OH        44503
OHIO DEPARTMENT OF TAXATION         PO BOX 530                                                                COLUMBUS      OH   43216-0530
OHIO DEPARTMENT OF TAXATION         PO BOX 530                                                                COLUMBUS      OH   43216-0530
CITY OF GARLAND                     ALARM ENFORCEMENT CLERK              1891 FOREST LANE                     GARLAND       TX    000075042
CTPROCOMPLY                         LOCKBOX PAYMENTS ONLY                39922 TREASURY CENTER                CHICAGO       IL    000060694
INCORP                              PO BOX 94438                                                              LAS VEGAS     NV    000089193
CITY OF MADISON                     PO BOX 20                                                                 MADISON       WI    000053701
